                                    Case 1:21-cr-00181-CKK Document 63-2 Filed 01/18/23 Page 1 of 9




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                           T h i s d i s c h a r g e c e r t i f i c a t e is a t e s t i m o n i a l o f y o u r h o n o r a b l e s e r v i c e . I t s i g n i f i e s t h a t y o u h a v e s e r v e d i n a
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                           O n b e h a l f o f the C o m m a n d a n t o f the M a r i n e C o r p s ,                 please a c c e p t t h e g r a t i t u d e o f o u r great             nation a n d
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              Certificate of C r a i n i n g
                    THIS CERTIFICATE A W A R D E D TO.



                             D.    R.    CALDWELL


                  F O R S U C C E S S F U L C O M P L E T I O N OF



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         Camp Pendleton, California

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                                     DIRECTOR OF OPERATIONS, MOTOR TRANSPORT DIVISION
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    You        a r e          h e r e b y             commended                  as       a     member                of        the         H&HS       90         Honor          Deck.
    In      o r d e r         to       be       a     p a r t       of      the        Honor             Deck,             y o u     had       to      be     a    v o l u n t e e r ,
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   D u r i n g t h e p e r i o d f r o m 10 O c t o b e r          1990 t o 2 November 1990, as a
   m e m b e r o f GOLF C o m p a n y , M a r i n e C o m b a t T r a i n i n g B a t t a l i o n ,      you
   performed your duties                 i n an exemplary manner.                      The e x t r e m e l y
   p o s i t i v e ,  highly      motivated a t t i t u d e          which you diaplayed set the
   pace       for others,         and d i r e c t l y c o n t r i b u t e d    t o y o u r s u c c e s s a t MCT.
   The e f f o r t     w h i c h y o u made i n d i c a t e s        a trend toward a b r i l l i a n t
   career.          Your a c t i o n s r e f l e c t     g r e a t c r e d i t upon y o u r s e l f ,   and a r e
   in keeping with highest                    t r a d i t i o n of the United States Marine Corps.




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                                          UNITED STATES MARINE CORPS
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From:       Commanding O f f i c e r ,         USMC-RS,      Little      Rock,     AR
Tos         Commanding G e n e r a l M a r i n e C o r p s R e c r u i t       Depot,     San Diego,          CA
            (ATTN: RLS)


Subj:       PROMOTION TO P R I V A T E F I R S T CLASS              (REFFERALS)         CASE O F :    PVT.         D.   R.   CALDWELL
            4 6 3 - 7 9 - 4 2 3 3 USMC


Ref:        MCO 1 0 2 0 . 3 2 D


1.     Per t h e r e f e r e n c e ,     P v t . C a l d w e l l r a t e s t o b e p r o m o t e d t o PFC.

2.     The b e l o w l i s t e d       r e f e r r a l s are t o j u s t i f y the issue:

       a.    BRALEY,       T.     D.    XXX-XX-XXXX/dep i n          890927

       b.    TRUSTY, M. A .             XXX-XX-XXXX/dep i n          890911

3.     We r e q u e s t   that appropriate             action     be t a k e n .




                                                       L . L . BLAHNA
                                                       By d i r e c t i o n
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                           DANIEL R. CALDWELL XXX-XX-XXXX 9900/USMC


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